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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


    Santiago Abreu, an individual,                       Case No.: 1:16-cv-00462-WJM-NYW

                Plaintiff,

          vs.

    Canvas and Cocktails, Inc. dba Canvas and
    Cocktails,

                    Defendants.



                             NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE



   Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Santiago Abreu, hereby

   voluntarily dismisses this action with prejudice.


            RESPECTFULLY SUBMITTED this 4th day of August, 2016.



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                                                       BY: s/ Afshin Afsharimehr
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